Case 1:12-cv-04236-MKB-RML Document 38 Filed 05/08/14 Page 1 of 4 PageID #: 1475



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------
 GOVERNMENT EMPLOYEES INSURANCE
 CO., GEICO INDEMNITY CO., GEICO
 GENERAL INSURANCE COMPANY and
 GEICO CASUALTY CO.,

                                     Plaintiffs,                   AMENDED
                                                                   MEMORANDUM & ORDER
                                                                   12-CV-4236 (MKB)
                            v.

 EVA GATEVA, M.D., HOLLIS MEDICAL
 SERVICES, P.C., PARK AVENUE MEDICAL
 CARE, P.C., GENTLE CARE MEDICAL
 SERVICES, P.C., EXCELLENT MEDICAL CARE
 SOLUTIONS, P.C., JACOB LEVIEV, NY BASIC
 MANAGEMENT CORP., JOHN DOE “1”
 through “5” and JOHN DOE CORPORATIONS “1”
 through “5”,

                                     Defendants.
 ---------------------------------------------------------------
 MARGO K. BRODIE, United States District Judge:

          Plaintiffs Government Employees Insurance Co., GEICO Indemnity Co., GEICO General

 Insurance Company, and GEICO Casualty Co. (collectively “Plaintiffs” or “GEICO”)

 commenced the above-captioned action on August 23, 2012, against Defendants Eva Gateva,

 M.D. (“Gateva”), Hollis Medical Services, P.C. (“Hollis”), Park Avenue Medical Care, P.C.

 (“Park Avenue”), Gentle Care Medical Services, P.C. (“Gentle Care”), Excellent Medical Care

 Solutions, P.C. (“Excellent Medical”), Jacob Leviev (“Leviev”), N.Y. Basic Management Corp.

 (“Basic Management”), John Does 1 through 5, and John Doe Corporations 1 through 5

 (collectively “Defendants”). (Docket Entry No. 1.) Plaintiffs alleged various causes of action,

 including violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18
Case 1:12-cv-04236-MKB-RML Document 38 Filed 05/08/14 Page 2 of 4 PageID #: 1476



 U.S.C. §§ 1962(c)–(d), common law fraud and unjust enrichment, arising out of a fraudulent

 insurance scheme. Defendants Gateva, Hollis, Park Avenue and Gentle Care failed to appear

 (“Defaulting Defendants”). On October 24, 2012, the Clerk of Court noted Defendant’s default.

 (Docket Entry Nos. 17–22.) Plaintiffs subsequently moved for default judgment against the

 Defaulting Defendants. (Docket Entry No. 29.) On April 1, 2013, the Court referred the motion

 to Magistrate Judge Robert M. Levy for a report and recommendation. On March 10, 2014, by

 Report and Recommendation (“R&R”), Judge Levy recommended that the Court grant Plaintiffs’

 motion for a default judgment and enter judgment against the Defaulting Defendants for

 damages as well as a declaratory judgment that Plaintiffs are not obligated to pay the outstanding

 claims submitted to Plaintiffs by Hollis, Park Avenue and Gentle Care (collectively the

 “Defaulting Corporate Defendants”). (Docket Entry No. 35.)

        Specifically, Judge Levy recommended that the Court enter judgment as follows:

 (1) against Gateva, jointly and severally, in the amount of $3,211,177.35 (consisting of the total

 of the damages owed by each Corporate Defaulting Defendant, $1,070,392.45, as well as treble

 damages), plus prejudgment interest at nine percent annual interest rate on $1,070,392.45 from

 January 1, 2008 through the date of entry of judgment, (2) against Hollis in the amount of

 $459,305.68, plus prejudgment interest at nine percent annual interest rate on that amount from

 January 1, 2008 through the date of entry of judgment, (3) against Park Avenue in the amount of

 $530,307.58, plus prejudgment interest at nine percent annual interest rate on that amount from

 January 1, 2009 through the date of entry of judgment, (4) against Gentle Care in the amount of

 $80,779.19, plus prejudgment interest at nine percent annual interest rate on that amount from

 January 1, 2009 through the date of entry of judgment. (R&R 17.) In addition, Judge Levy

 recommended that the Court enter a declaratory judgment that Plaintiffs are not obligated to pay




                                                  2
Case 1:12-cv-04236-MKB-RML Document 38 Filed 05/08/14 Page 3 of 4 PageID #: 1477



 the claims submitted to Plaintiffs by the Corporate Defaulting Defendants which claims are

 actively in dispute, totaling $521,841.96. (Id.)

         A district court reviewing a magistrate judge’s recommended ruling “may accept, reject,

 or modify, in whole or in part, the findings or recommendations made by the magistrate judge.”

 28 U.S.C. § 636(b)(1)(C). “Failure to object to a magistrate judge’s report and recommendation

 within the prescribed time limit ‘may operate as a waiver of any further judicial review of the

 decision, as long as the parties receive clear notice of the consequences of their failure to

 object.’” Sepe v. New York State Ins. Fund, 466 F. App’x 49, 50 (2d Cir. 2012) (quoting United

 States v. Male Juvenile, 121 F.3d 34, 38 (2d Cir. 1997)); see also Almonte v. Suffolk Cnty., 531

 F. App’x 107, 109 (2d Cir. 2013) (“As a rule, a party’s failure to object to any purported error or

 omission in a magistrate judge’s report waives further judicial review of the point.” (quoting

 Cephas v. Nash, 328 F.3d 98, 107 (2d Cir. 2003))); Wagner & Wagner, LLP v. Atkinson,

 Haskins, Nellis, Brittingham, Gladd & Carwile, P.C., 596 F.3d 84, 92 (2d Cir. 2010) (“[A] party

 waives appellate review of a decision in a magistrate judge’s Report and Recommendation if the

 party fails to file timely objections designating the particular issue.”).

         The Court has reviewed the unopposed R&R, and, finding no clear error, the Court

 adopts Judge Levy’s R&R in its entirety pursuant to 28 U.S.C. § 636(b)(1).




                                                    3
Case 1:12-cv-04236-MKB-RML Document 38 Filed 05/08/14 Page 4 of 4 PageID #: 1478



          The Clerk of the Court is directed to enter a declaratory judgment in favor of Plaintiffs

 and default judgments with prejudgment interest against the Defaulting Defendants as set forth

 above.

                                                        SO ORDERED:



                                                              s/ MKB
                                                        MARGO K. BRODIE
                                                        United States District Judge

 Dated: May 8, 2014
        Brooklyn, New York




                                                   4
